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                                   STATEMENT OF FACTS

        Your affiant,               is a Special Agent (SA) assigned to the Federal Bureau of
Investigation (“FBI”) and has been since 2023. SA Holt is currently assigned to a squad in Fort
Worth, Texas that is responsible for investigating Domestic Terrorism cases. SA Holt is
responsible for conducting investigations into various threats including domestic terrorism. These
investigations have often involved the use of physical surveillance, the execution of search and
arrest warrants, and the debriefing of witnesses and subjects. SA Holt also has experience in the
review of evidence obtained during the execution of search warrants.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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                IMAGE 4 – DENEUI in the crowd at the “Stop the Steal” rally.

       Around 3:44 p.m., DENEUI appears in a third party TikTok video. In the video, DENEUI
removed a collapsible baton from his pocket and extended it while he stood in front of a line of
Metropolitan Police as shown in IMAGE 5. DENEUI then appeared to yell something to the crowd
and then seemed to nod his head to indicate others should follow him.




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   IMAGE 5 – DENEUI taking out a collapsible baton in the Northwest Courtyard (DENEUI
                      circled in yellow, the baton circled in red).

        Body-worn camera footage shows DENEUI walked along the police line with the baton as
shown in IMAGE 6. An officer noticed DENEUI was carrying a weapon as he walked down the
police line, and the officer notified a commanding officer in the area. After determining that the
weapon was a baton and presented a danger to the officers and the crowd, Metropolitan Police
pulled DENEUI behind the police line, took the baton, and detained DENEUI as shown in IMAGE
7. Officer R.G. took the baton from DENEUI. Then other officers conducted a pat down.




               IMAGE 6 – DENEUI walks past police officers carrying a baton.




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                    IMAGE 7 – DENEUI holds a baton as police detain him.

       Officer R.G. later spoke to the FBI about this incident. He advised your affiant that he
believed the baton taken from DENEUI was a police baton, and that Officer R.G. considered the
baton dangerous to the officers at the Capitol that day.

       During the pat down of DENEUI at the Capitol on January 6, 2021, officers advised
DENEUI that the baton was prohibited. DENEUI told officers he did not know it was prohibited
and that he was “just trying to protect” himself. He told officers he did not have any other weapons
on him, just his phone. Officers then discovered that DENEUI was wearing body armor as shown
in IMAGE 8. DENEUI confirmed to the officers that he was wearing body armor.




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               IMAGE 8 – Police discover that DENEUI is wearing body armor.

        After DENEUI confirmed to police that he was wearing body armor, the BWC footage
shows that Officer R.G. advised DENEUI that he could not have a weapon. DENEUI asked police,
“I can’t protect myself?” Officer R.G. explained that he cannot protect himself with the baton
because it is a weapon. DENEUI responded that there “are crazy people out there right now,” and
requested the officers return the baton. DENEUI continued to argue with officers that they should
return the baton because it was going to be “a shitstorm.” During the conversation, the police asked
DENEUI for his name and he told them it was Dan Deneui.

        After a few minutes, the police asked DENEUI if he was ready to leave. DENEUI
responded, “No, I don’t want to leave, I’m staying all night.” The officers instructed DENEUI to
return to the crowd. DENEUI then told the officers that “there’s a lot of people that are pissed off
out there, and they are going to fucking take this place over.” DENEUI told the officer that he
would keep the baton in his pocket if they returned it. Officer R.G. declined to return the baton
since DENEUI had already displayed it. Officers then led DENEUI to the other side of the police
line.

         According to third-party video, after his encounter with the police, DENEUI made his way
through the crowd and posted himself near the Senate Wing Door. In a third-party video, DENEUI
appears to be on a phone call as other rioters attempt to place signs on the window as shown in
IMAGE 9. Based on my review of CCTV footage and video taken by third parties, I know that
rioters had previously broken the windows near the Senate Wing Door and breached the building.
By the time DENEUI arrived there, police officers inside the building were attempting to re-secure
the broken windows and prevent more rioters from gaining access to the building. To accomplish
this, the officers inside closed and locked the wood-and-glass shutters, built makeshift barricades

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out of furniture, and attempted to hold the rioters at bay. Rioters outside the building saw these
efforts and tried to break through the shutters and the furniture barricades.




         IMAGE 9 – DENEUI appears to be on phone call near the Senate Wing Door.

       Shortly after, third-party video shows that DENEUI watched as another rioter stood in the
windowsill and attempted to kick out the window shutter as shown in IMAGE 10. DENEUI helped
a second rioter onto the windowsill as shown in IMAGE 11. The second rioter attempted to break
the shutters as well.




        IMAGE 10 – A rioter attempted to break a shutter directly in front of DENEUI.



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IMAGE 11 – DENEUI helped a rioter onto the windowsill, where that rioter attempted to break
                                  open the shutters.

       The other rioters jumped down after they kicked a hole in the shutters. DENEUI watched
as another rioter—a woman wearing a fur-collared hood and red cap—took over the assault at the
window with a flagpole as shown in IMAGE 12. The woman pushed at the shutters, but did not
appear to cause further damage.




       IMAGE 12 – DENEUI watched another rioter attack the window with a flagpole.

        Third-party video shows that DENEUI took the flagpole from the woman with the fur-
collared hood. DENEUI looked inside the broken shutters, then pushed at the furniture blockading
the window. While DENEUI pushed against the furniture, U.S. Capitol police inside the building
held up the furniture. In the third-party video, officers are visible directly behind the furniture.

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        According to third party video, DENEUI next watched a different rioter attempt to break
the shutters further, with a different flagpole, as shown in IMAGE 16. DENEUI then took a piece
of wood from the broken shutter and used it to continue to break the shutters as shown in IMAGE
17. According to the Architect of the Capitol, the smashed glass and broken wooden portion of the
shutters cost more than $2,000 worth of damage.




  IMAGE 16 – DENEUI watched a second rioter attacked the window shutter with a flagpole.




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  IMAGE 17 - DENEUI broke the window shutter with a piece from another window shutter.

        Based on the foregoing, your affiant submits there is probable cause to believe that
DENEUI violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose,
impede, intimidate, or interfere with any person designated in section 1114 of Title 18 while
engaged in or on account of the performance of official duties, where such acts involve physical
contact with the victim or the intent to commit another felony. Persons designated within section
1114 of Title 18 include federal officers such as USCP officers and include any person assisting
an officer or employee of the United States in the performance of their official duties.

        Your affiant submits there is probable cause to believe that DENEUI violated 18 U.S.C.
231(a)(3), which, in pertinent part, makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Secret Service’s protection of the Vice President and his family and the Capitol
Police’s protection of the U.S. Capitol.


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        Your affiant submits that there is probable cause to believe that DENEUI violated 18
U.S.C. §§ 1361 and 2, by willfully injuring or committing, or attempting to willingly injure or
commit, any depredation against any property of the United States with a value of more than
$1,000. The window shutters outside the Senate Wing of the United States Capitol are property
of the United States government.

        Your affiant submits that there is probable cause to believe that DENEUI violated 18
U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so; and (4) knowingly engage in any
act of physical violence against any person or property in any restricted building or grounds or
attempts or conspires to do so.

       Your affiant submits that there is also probable cause to believe that DENEUI violated 18
U.S.C. § 1752(b)(1)(A), which makes it a crime to knowingly enter or remain in any restricted
building or grounds without lawful authority to do so; and, in relation to the offense, to use or carry
a deadly or dangerous weapon, that is, a baton.

        For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that DENEUI violated
40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

                                                                                                     _

                                                  FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of December 2024.

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                                     ___________________________________
                                     MATTHEW J. SHARBAUGH
                                     U.S. MAGISTRATE JUDGE




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